WORTHE HANSON & WORTHE

1851 EAST FIRST ST., SUITE 860
SANTA ANA, CALIFORNIA 92705

Case@2:22-cv-03129-SSS-JPR Document1 Filed 05/09/22 Page1lof5 Page ID#:1

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

USDC Case No::
[LASC Case No. 21STCV34121]

MAURISE PHILLIPS
Plaintiff,
NOTICE OF REMOVAL OF

ACTION UNDER 28 U.S.C.
§1446(b) and 28 U.S.C. §1332(a)

Vv.

AMERICAN AIRLINES, INC.; BRITISH
AIRWAYS PLC; and Does | through 20,
Inclusive

Defendants.

Complaint Filed: 09/15/2021

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JURISDICTION of this Court is invoked on the basis of diversity of
citizenship and pursuant to 28 U.S.C. §1332, and 28 U.S.C. $1446.

TO THE CLERK OF THE ABOVE-ENTITLED COURT:

PLEASE TAKE NOTICE that Defendant, AMERICAN AIRLINES INC.,
hereby removes to this Court the State Action described below.

l. Defendant, AMERICAN AIRLINES, INC., hereby invokes the
Jurisdiction of this Court based upon the provisions of 28 U.S.C. §1332 and 28 U.S.C.
§ 1446, on the basis of diversity of citizenship.

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NOTICE OF REMOVAL OF ACTION

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2, On September 15, 2021, an action was commenced in the Superior Court
of the State of California in and for the County of Los Angeles, entitled “Maurise
Phillips v. American Airlines, Inc., et al.,” bearing Case No. 21STCV34121. A copy
of Plaintiff's Complaint is attached as Exhibit “A.”

3. On April 20, 2022, Plaintiff's counsel served the Summons and
Complaint. A copy of the Service of Process Transmittal is attached hereto as
Exhibit “B.”

4. Pursuant to 28 U.S.C. §1446(b), defendant has thirty (30) days from the
date it received the Plaintiff's Complaint, to and including May 20, 2022, to remove
this matter to the United States District Court for the Central District of California,
since the Complaint is “other paper from which it may first be ascertained that the
case is removable on the basis of jurisdiction conferred by Section 1332 of this
Tithe.”

5 Currently there is no paper specifically alleging the amount in
controversy. However, the Complaint contains a claim for emotional damages, with a
prayer for punitive damages.

Generally, a removing defendant must prove by a preponderance of the evidence
that the amount in controversy satisfies the jurisdictional threshold. Guglielmino v.
McKee Foods Corp., 506 F.3d 696, 699 (9th Cir. 2008). While the defendant must
“set forth the underlying facts supporting its assertion that the amount in controversy
exceeds the statutory minimum,” the standard is not so taxing so as to require the
defendant to “research, state, and prove the plaintiff's claims for damages.” Coleman
v. Estes Express Lines, Inc., 730 F. Supp. 2d 1141, 1148 (C.D. Cal. 2010).

It is settled law that the Court may consider emotional distress, attorneys’ fees
and punitive damages in ascertaining the amount in controversy even when the
plaintiff does not specify an amount in his complaint. Accord Richmond v. Allstate
Ins. Co. (S.D. Cal. 1995) 897 F. Supp. 447, 450. (“The vagueness of plaintiffs’

pleading with regard to emotional distress damages should not preclude this Court

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from noting that these damages are potentially substantial.”) Plaintiffs Complaint
does not precisely state the amount of claimed damages. However, Plaintiff seeks
general and specific damages, attorneys’ fees and punitive damages in addition to his
claim for economic and noneconomic damages. (Complaint at p. 11 at 957, p. 16 at
79:5 and p. 18, lines 12-14.) Based upon the foregoing and Plaintiff's allegations of
discrimination, intentional infliction of emotional distress and negligence, the amount
in controversy exceeds $75,000.

7. Plaintiff, PHILLIPS is a Citizen/resident of the State of California
(Complaint at p. 1:27).

8. Defendant, AMERICAN AIRLINES, INC., was, and is a corporation
incorporated under the laws of the State of Delaware and having its principal place of
business in the State of Texas.

9. This action is a civil action of which this Court has original jurisdiction
under 28 U.S.C. $1332, and is one which may be removed to this Court by Defendant
pursuant to the provisions of 28 U.S.C. §1332(a), in that it is a civil action wherein
the matter in controversy exceeds the sum of $75,000.00, and is between citizens of
different states.

10. Accordingly, the United States District Court for the Central District of
California has diversity jurisdiction, and this action is properly removed pursuant to
28 U.S.C. §1332(a), et seq.
DATED: May 5, 2022 WORTHE HANSON & WORTHE

By:___/s/ Todd C. Worthe
TODD C. WORTHE, ESQ.
MACKENZIE C. FOELLMER, ESQ.
Attorneys for Defendant, AMERICAN
AIRLINES, INC.

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NOTICE OF REMOVAL OF ACTION

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PROOF OF SERVICE

STATE OF CALIFORNIA)
)ss
COUNTY OF ORANGE )

I am employed in the County of Orange, State of California. I am over the age of 18 and not a
party to the within action. My business address is 1851 East First Street, Suite 860, Santa Ana,
California 92705.

On May 9, 2022, I served the foregoing document described as: NOTICE OF REMOVAL
OF ACTION UNDER 28 U.S.C. SECTION 1446(b) AND 28 U.S.C. 1332(a) to all interested
parties in said action by:

iE BY FACSIMILE TRANSMISSION from FAX No. (714)285-9700 to the FAX number(s)
listed below. The facsimile machine I used complied with Rule 2003(3) and no error was report by
the machine. Fax Number(s):

Q BY PERSONAL SERVICE as follows: I caused such envelope to be delivered by hand to the
offices of the addressee.

O BY THE E.C.F. SYSTEM as follows:
x BY ELECTRONIC SERVICE; and

& BY MAIL as follows:
placing U the original & a true copy thereof in a sealed envelope addressed as stated
on the ATTACHED MAILING LIST.
bd I deposited such envelope in the mail at Santa Ana, California. The envelope was
mailed with postage thereon fully prepaid.

Tam "readily familiar" with the firm's practice of collection and processing
correspondence for mailing. Under that practice it would be deposited with U.S. postal service on
that same day with postage thereon fully prepaid at Santa Ana, California in the ordinary course of
business. | am aware that on motion of party served, service is presumed invalid if postal
cancellation date or postage meter date is more than one (1) day after date of deposit for mailing in
affidavit.

O BY OVERNIGHT DELIVERY: I deposited such an envelope in a box or other facility
regularly maintained by express service carrier, or delivered to an authorized courier or driver
authorized by the express service carrier to receive documents in an envelope or package designated
by the express service carrier with delivery fees paid or provided for, addressed to the person on
whom it is to be served as indicated on the attached Service List, at the office address as last given
by that person on any document filed in the case and served o the party making service.

CO) STATE - I declare under penalty of perjury under the laws of the State of California that the
above is true and correct.

x FEDERAL - I declare that I am employed in the office of a member of the bar of this court at
whose direction the service was made.

Executed on May 9, 2022, at Santa Ana, California. \
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( J GINA M. FISHER

PROOF OF SERVICE

WORTHE, HANSON & WORTHE
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SANTA ANA, CALIFORNIA 92705

Case

TELEPHONE: (714) 285-9600

SERVICE LIST
Phillips v. American Airlines, Inc.
LASC Case No.: 21STCV34121
USDC Case No. Unassigned

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ATTORNEY FOR DEFENDANT, BRITISH AIRWAYS, PLC

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PROOF OF SERVICE

